Case 1:18-cr-20685-KMW Document 383-1 Entered on FLSD Docket 04/29/2021 Page 1 of 2
                                                     EXHIBIT A



                       AFFIDAVIT OF MARIA LUCIA HERNANDEZ FRIERI

My name is Maria Lucia Hernandez Frieri and I declare pursuant to 28 U.S.C. § 1746 under
penalty of perjury under the laws of the United States of America that the following is
true and correct:
   1. My parents were Gustavo Hernandez Romero and Francia del Socorro Frieri de
      Hernandez. Gustavo Hernandez Frieri is my brother. I am married to Juan Carlos
      Gomez. I currently live in Bogota, Colombia.
   2. I am the aunt to Gustavo and Olympia’s three minor children, G             H
      d C       (9 years old), F          H         d C        (7 years old), and A
      H           d C        (5 years old).
   3. In 2004, my mother suddenly passed. Gustavo was the only unwed sibling – my
      father 18 years her senior – devastated as we all were, told me he wished to
      organize his matters – leave his wishes settled – by providing for Gustavo’s future
      children.
   4. The apartment in New York, 3 Gramercy Park West, was purchased as an asset in
      my father’s trust, for the benefit of Gustavo’s future children.
   5. My brother Gustavo married Olympia de Castro – they had their first two children.
      Before the third child was born, they lived at 3 Gramercy Park West – always
      property of my father’s trust. Neither Gustavo nor his wife Olympia had any
      ownership of the 3 Gramercy Park West apartment in which they lived. Gustavo
      was never a trustee or a beneficiary of my father’s trust that owned 3 Gramercy
      Park West.
   6. When my father passed away, I became beneficiary of the HH Master Settlement
      Trust, my father’s trust.
   7. In late 2018 and then into 2019 my husband Juan Carlos, Olympia de Castro and I
      had discussions regarding my father’s trust and the 3 Gramercy Park West
      apartment. We decided to create a new trust for my brother’s children, to date
      three born children – G        ,F         and A          . I as the sole beneficiary of
      the HH Master Settlement Trust assigned the membership interests of 3 Gramercy
      Park West, LLC to the DC 2019 Irrevocable Trust, in order to transfer the 3 Gramercy
      Park West apartment solely for the benefit of G        ,F            and A         , as
      per my father’s wishes. My brother Gustavo who at this time had been arrested
      was never part of these conversations.
Case 1:18-cr-20685-KMW Document 383-1 Entered on FLSD Docket 04/29/2021 Page 2 of 2




   8. In conclusion, I confirm that I, Maria Lucia Hernandez Frieri, was the sole
       beneficiary of the HH Master Settlement Trust, created by my father, Gustavo
       Hernandez Romero. The property 3 Gramercy Park West, acquired by the HH
       Master Settlement Trust was always as intended by my father, an asset belonging
       to his grandchildren born by Gustavo, my brother. On February 1 st 2019, I, as the
       sole beneficiary of the HH Master Settlement Trust, assigned the membership
       interest of 3 Gramercy Park West LLC to the DC 2019 Irrevocable Trust, transferring
       the property 3 Gramercy Park West to the DC 2019 Irrevocable Trust. I did not
       intend for the trust asset, 3 Gramercy Park West, to belong to my brother, Gustavo,
       or to Olympia de Castro. This property was to be held in trust solely for the benefit
       of my nephews and niece, G            H           d C     ,A           d C       and
       F          d C        , respectively.
   9. As a couple, my husband Juan Carlos Gomez and I decided that he be the Protector
       to the new trust, the DC 2019 Irrevocable Trust, always making sure that this new
       Trust be kept in the best interest of all three children.
   10. None of the actions in the fulfillment of my father’s wishes were ever done to hide
       any assets from the Government.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is drafted, written by me, all being true and correct.

Executed on April 29, 2021


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Maria Lucia Hernandez Frieri
